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  16
                           UNITED STATES DISTRICT COURT
  17                      CENTRAL DISTRICT OF CALIFORNIA
  18
       VERNON UNSWORTH,                          Case No. 2:18-cv-08048-SVW (JC)
  19

  20         Plaintiff,
                                                 NOTICE OF WITHDRAWAL OF
  21
       v.                                        PLAINTIFF’S FIRST AND
  22                                             SECOND MOTIONS TO
       ELON MUSK,                                COMPEL
  23

  24         Defendant.                          Hearing Date:          Nov. 12, 2019
                                                 Time:                  9:30 a.m.
  25
                                                 Courtroom:             750
  26                                             Pretrial Conference:   Nov. 25, 2019
                                                 Trial Date:            Dec. 3, 2019
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   1         Comes now, Plaintiff Vernon Unsworth, and provides notice to this Honorable
   2   Court that the parties have reached a mutually agreed resolution to Plaintiff’s Motion
   3   to Compel [Dkt. 84, 89] and Plaintiff’s Second Motion to Compel [Dkt. 86, 90], and
   4   Plaintiff thus withdraws his First and Second Motions to Compel discovery from
   5   Defendant Elon Musk set for hearing on Tuesday, November 12, 2019, at 9:30 a.m.
   6         Respectfully submitted this 11th day of November, 2019.
   7                                          L. LIN WOOD, P.C.
   8
                                              By: /s/L. Lin Wood
                                              L. Lin Wood
   9                                          Attorneys for Plaintiff Vernon Unsworth
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